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1                                                          THE HONORABLE JAMES L. ROBART

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7                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
8
                                          AT SEATTLE
9
     LESLIE JACK, individually and as Personal
10   Representative of PATRICK JACK; DAVID JACK, NO. 2:17-cv-00537-JLR
     Individually,
11                                               DEFENDANT DCO LLC’S TRIAL BRIEF
                          Plaintiffs,            REGARDING APPLICABILITY OF THE WPLA
12
            v.
13

14
     ASBESTOS CORPORATION LTD., et al.,

15                          Defendants.

16
                                       I.     INTRODUCTION
17
            Defendant DCo, LLC (formerly Dana Companies, LLC) submits the following
18
     memorandum, as requested by the Court, to address applicability and impact of the
19
     Washington Product Liability Act, Ch. 7.72 RCW (“WPLA”) on this matter.
20

21
                              II.    NEGLIGENCE AND STRICT PRODUCTS
                          LIABILITY CLAIMS ARE SUBSUMED UNDER THE WPLA
22
            The WPLA, codified in Ch. 7.72 RCW, establishes and sets standards for product
23
     liability claims. RCW 7.72.030(1) and (2) defines the liability of a manufacturer, creating
24
     liability standards for claims that products are not reasonably safe due to their design,
25

26

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1    their construction, or for lack of adequate warnings.1 The WPLA encompasses “product

2    liability claims,” which are defined to include:
3                     Any claim or action previously based on: Strict liability in tort;
                      negligence, breach of express or implied warranty; breach of,
4
                      or failure to, discharge a duty to warn or instruct, whether
5                     negligent or innocent; misrepresentation, concealment or
                      nondisclosure, whether negligent or innocent; or other claim
6                     or action previously based on any other substantive legal
                      theory except fraud, intentionally caused harm or a claim or
7                     action under the Consumer Protection Act, Chapter 19.86
                      RCW.
8

9
     RCW 7.72.10(4). Thus, all common law theories related to product liability are pre-

10   empted. Washington Water Power Co. v. Graybar Electric Co., 112 Wn.2d 847, 853, 774

11   P.2d 1199 (1989); Fagg v. Bartells Asbestos Settlement Trust, 184 Wn. App. 804, 812,
12   339 P.3d 207 (2014).
13
                       III.    THE WASHINGTON PRODUCT LIABILITY ACT APPLIES
14
             The WPLA was enacted by Ch. 27, Laws of 1981 (Tort Reform Act of 1981). It
15
     applies to claims “arising” on or after July 26, 1981. RCW 4.22.920(1); Macias v.
16
     Saberhagen Holdings, Inc., 175 Wn.2d 402, 408, 282 P. 3d 1069 (2012).2
17

18           In asbestos cases, the “arising” factor is determined by examining the time period

19   over which the plaintiff allegedly was exposed to the injury-causing asbestos product. The

20   exposure to be considered in this regard is that attributable to individual defendants
21
     against whom claims are made, not the total exposure claimed from all sources. Thus,
22
     exposures Plaintiffs would attribute to co-defendants (or former co-defendants) are
23

24   1 There also are provisions regarding breaches of express or implied warranties, which DCo believes are not
     relevant here.
25
     2 In addition to creating the WPLA, the Tort Reform Act of 1981 contained provisions affecting joint and
26   several liability and comparative fault principles and created a right of contribution, codified in Ch. 4.22
     RCW rather than with the WPLA in Ch. 7.72 RCW. Thus, the effective date provision is in Ch. 4.22.

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1    irrelevant to the analysis. Fagg v. Bartells Asbestos Settlement Trust, 184 Wn. App. 804,

2    814-17, 339 P.3d 207 (2014) (finding plaintiff’s arguments to the contrary “untenable”).
3            When exposure spans a prolonged time, and it appears that “substantially all” of
4
     the injury-producing events occurred prior to its effective date, the WPLA does not apply.
5
     Krivanek v. Fibreboard Corp., 72 Wn. App. 632, 635, 865 P.2d 527 (1993).                                   The
6
     converse has been adopted: The WPLA does apply unless substantially all of the claimed
7
     exposure occurred before the WPLA's effective date. Macias v. Saberhagen Holdings,
8

9    Inc., 175 Wn.2d 402, 408, 282 P.3d 1069 (2012); Fagg v. Bartells Asbestos Settlement

10   Trust, 184 Wn. App. 804, 812-13, 339 P.3d 207 (2014). Reviewing cases from varying
11   contexts, Fagg found that "substantially all" has been equated with “nearly all” or
12
     “essentially all,” and not “for the most part.” 184 Wn. App. at 813. In some contexts, it
13
     has been quantified, as meaning 85 percent or more. Id.3
14
             Here, Plaintiffs allege Mr. Jack worked with automobiles, including those utilizing
15
     Victor gaskets, “for decades.”           Dkt. #503, Plaintiff’s Motion for Partial Summary
16

17
     Judgment Regarding DCo LLC’s Affirmative Defenses, at 2.                        They cite Mr. Jack’s

18   deposition testimony, which generally describes such work as beginning in 1955 and

19   continuing until “a couple years” prior to his 2017 deposition. Dkt. 504-1, Jack Dep., at
20   41:9-14. They also make much of the fact that as of 2017 Mr. Jack had a set of Victor
21
     gaskets in his garage which tested positive for the presence of asbestos. Dkt. #503 at
22
     2.4 The report of their causation expert, Dr. Brodkin, refers to Mr. Jack performing more
23

24

25   3 The court in Fagg found it unnecessary to choose between a “plain meaning” and a “quantitative”
     definition of “substantially all,” because the outcome would be the same either way. 184 Wn. App. at 814.
26   4 DCo does not concede the relevance or trustworthiness of any evidence based upon the Victor box or its
     contents because, among other reasons, Plaintiffs elsewhere concede that those particular gaskets were
                                                                                           LAW OFFICES
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1    than 275 engine rebuilds over the course of his lifetime, and characterizes these as

2    involving asbestos-containing materials from 1955 to 1988. Brodkin Report, Clinical
3    Summary at 2 (Dkt. #519- 5, p 6 of 97). Dr. Brodkin further delineated this as Mr. Jack
4
     working on “a ‘couple hundred’ personal vehicles. . . as well as work on family/friends
5
     vehicles between 1955 - >2001 . . .” id., Occupational History at 9 (Dkt. #519- 5, p 24 of
6
     97), as well as some professional automotive work. Dr. Brodkin also described this work
7
     as including some 75-100 complete rebuilds and 200 partial overhauls of engines on
8

9    personal vehicles, as well as an engine rebuild about every two months during his two

10   years working at an auto shop. Id. at 15-16 (Dkt. #519- 5, p 30-31 of 97). He reports

11   this work as occurring between 1955 and 2001, and notes that Victor manufactured
12
     asbestos-containing gaskets until 1988 and sold some until the 1990s. Id.
13
             If one considers the span of years in which exposure is claimed to have occurred,
14
     there is no scenario by which pre-WPLA years amount to 85% or more of the exposure.
15
     Calculating exposure only until Victor stopped manufacturing asbestos-containing
16

17
     gaskets, there would be 26 years prior to the WPLA (1955-1981) and 7 years (1981-

18   1988) under it, or a 79%/21% ratio. If one instead assumed that exposure occurred until

19   2001, the pre-WPLA years would be 26 of 46, or 56%. If exposure continued, as Plaintiffs
20   appear to claim, to as late as 2014, WPLA years actually exceed pre-WPLA.
21
             If one instead calculated a ration by number of rebuilds performed in various time
22
     periods – and even if one weighted this calculation to account for Mr. Jack’s occupational
23
     work as a mechanic, there still is no scenario by which pre-WPLA exposure can be said to
24

25

26   not used by Mr. Jack and thus could not be a source of exposure. But they are emblematic of the broad
     temporal extent of Plaintiffs’ exposure claims.

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1    be as much as 85% of the alleged exposure from Victor gaskets. If Mr. Jack performed a

2    total of 300 partial overhauls or complete rebuilds from 1955-2001 (as noted by Dr.
3    Brodkin), he would have done 6.5 per year. The 26 years pre-WPLA years from 1955 to
4
     1881 would account for 169 of them. Adding 12 more for Mr. Jack’s time at Dexter Auto
5
     Rebuild (there was an overhaul about every 2 months during his 2 years there,
6
     accordingly to Dr. Brodkin’s report) and 3 more while he was at Apex Towing (id.), totals
7
     184, versus 45.5 for 7 WPLA years from 1981 through 1988, or an 80%/20% ratio.
8

9    Again, the non-WPLA portion only decreases if one postulates exposure after 1988.

10           Nor can the pre-WPLA exposure, under any of these scenarios, be fairly

11   characterized as “essentially all” or nearly all the exposure, on a “plain meaning”
12
     interpretation. (“[S]eventy-five percent . . . ha[s] been found not to be the equivalent of
13
     ‘substantially all.’”) Fagg, supra, 184 Wn. App. at 813. The WPLA applies to Plaintiffs'
14
     claims against DCo.5
15
         IV.    PRODUCT LIABILITY CLAIMS ARE ASSESSED IN RELATION TO ALTERNATIVE
16
           DESIGNS OR WARNINGS PRACTICABLE AT THE TIME THE PRODUCT WAS MADE
17
             Regardless of whether the WPLA applies, when the jury considers whether a
18
     product is not reasonably safe because of its design, it should consider whether
19
     alternative designs or warnings were practicable at the time the product was made. This
20
     was the express conclusion of case law developing Washington’s common law of strict
21

22   products liability, and has been adopted as part of the WPLA.

23

24

25   5 There is no particular evidence to the contrary, and thus none by which a jury would be justified in coming
     to a contrary conclusion. The issue thus should not be submitted to the jury as a question of fact, rather
26   than an legal interpretation by this Court of the effective date of the WPLA, per the statute and the case law
     interpreting it.

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1           Under the WPLA, the substance of a design-defect claim is set forth in RCW

2    7.72.030(l)(a):
3                     A product is not reasonably safe as designed, if, at the time
                      of manufacture, the likelihood that the product would cause
4
                      the claimant's harm or similar harms, and the seriousness of
5                     those harms, outweighed the burden on the manufacturer to
                      design a product that would have prevented those harms
6                     and the adverse effect that an alternative design that was
                      practical and feasible would have on the usefulness of the
7                     product.
8
     The language of the statute is taken from pre-WPLA case law, Seattle-First National Bank
9
     v. Tabert, 86 Wn.2d 145, 542 P.2d 774 (1975). Tabert authoritatively informs us that the
10
     WPLA’s definition of design defect and consumer expectations call for an examination of
11
     the feasibility of eliminating or minimizing the risk associated with the product. Falk v.
12

13
     Keene Corp., 113 Wn.2d 645, 782 P.2d 974 (1989). Thus, under both the WPLA and

14   predecessor common law, feasibility of warnings and alternative or safer designs as of

15   the time of a product’s manufacture may be considered. It is not reasonable for a
16   consumer to expect a manufacturer to provide a safer product than was technologically
17
     feasible at the time the product was made.
18
               V.    UNDER THE WPLA, INDUSTRY CUSTOM AND PRACTICE AND
19           COMPLIANCE WITH APPLICABLE STANDARDS MAY ALSO BE CONSIDERED

20          The WPLA also expressly provides that in design defect or failure to warn claims,
21   the trier of fact may consider evidence of custom within the defendant's industry,
22
     technological feasibility of alternate designs or warnings, the state of the pertinent
23
     (scientific) art, and compliance with regulatory or industrial standards:
24
                      Evidence of custom in the product seller's industry,
25                    technological feasibility or that the product was or was not, in
                      compliance with nongovernmental standards or with
26
                      legislative regulatory standards or administrative regulatory
                                                                                     LAW OFFICES
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1                     standards, whether relating to design, construction or
                      performance of the product or to warnings or instructions as
2                     to its use may be considered by the trier of fact.
3    RCW 7.72.050(1).6
4
             RCW 7.72.050(1) applies to design defect claims under either the “burden to
5
     design a safe product” test (RCW 7.72.030(l)(a)) or the “consumer expectations” test
6
     (RCW 7.72.030(3)). Falk v. Keene Corp., 113 Wn.2d 645, 654-655, 782 P.2d 974
7
     (1989). See also Crittenden v. Fibreboard Corp., 58 Wn. App. 649, 659, 794 P.2d 554
8

9
     (1990).

10           RESPECTFULLY SUBMITTED this 21st day of September, 2018.

11
                                                         GORDON THOMAS HONEYWELL LLP
12

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17

18

19

20

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22

23
     6 “State-of-the-art” is "the technological feasibility of alternative safe designs in existence at the time the
24   product was originally manufactured." Lenhardt v. Ford Motor Co., 102 Wn.2d 208, 210, 683 P.2d 1097
     (1984). Industry custom, on the other hand, "refers to a practice or custom regarding a particular design or
25   manufacturing technique utilized by most manufacturers in that industry." Id. “These concepts are not
     always synonymous and, as such, involve different types of evidence.” As discussed above, evidence of
26   technological feasibility is relevant under both common law and WPLA product liability claims. Industry
     custom was made expressly admissible under WPLA claims..

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1                                   CERTIFICATE OF SERVICE

2            I hereby certify that on 21st day September, 2018, I electronically filed the
     foregoing with the Clerk of the Court using the CM/ECF system which will send
3    notification of such filing to the following:
4
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